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                                             New to fiber optics? Having difficulty understanding the technical
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                                             terms? Usure of how to mount a FORJ? Don't worry. Read through our
                   Training
                                             learning pages. You will be an expert in no time.

              SOLUTIONS                         Standard Fibers and Common Wavelengths
                  Sliprings
           RF Rotary Joints                  Single-channel Fiber Optic Rotary Joints (R series)
        Fluid Rotary Unions                  The R series single-channel (SM or MM) rotary joints are very versatile
                Multiplexers                 by design. The rugged body allows fiber pigtail, ST, or FC receptacles on
          Media Converters                   either the rotor or the stator side. Therefore, the package can be
                                             configured to fit the customer's exact need. Patent pending.

                                             Single-channel Miniature Fiber Rotary Joint (MJX series)
                                             Single-channel (singlemode or multimode) miniature FORJ with superb
                                             optical performance similar to that of the R series. They function and
                                             perform exactly like the RPT series FORJs. The ultra compact size is
                                             ideal for tight spaces. Patent pending.

                                             Single-channel Fiber Optic Rotary Adapter (RFCX series)
                                             Single-channel (singlemode or multimode) receptacle type rotary joints
                                             designed to replace standard FC bulkhead adapters. They function
                                             exactly like the RFC series receptacle FORJs. The ultra small size allows
                                             faster rotation speed. Patent pending.

                                             Two-channel Fiber Optic Rotary Joint (MJ2 series, MM)
                                             Two independent channels of multimode fibers are designed in a
                                             compact package. This popular model is the smallest of its kind and has
                                             become the favorite of many wind turbine designers. It offers extremely
                                             low crosstalk (<-55 dB). Patented.

                                             Two-channel Plastic Optical Fiber Rotary Joint (PJ2 series)
                                             Princetel's PJ2 series 2-channel FORJs offer blind-spot free operation
                                             during rotation and are ideal for machine control applications such as
                                             SERCOS Interfaces. The rugged design permits underwater usage.
                                             Damaged fibers can be replaced without costly repairs of the FORJ.

                                             NEW: Ultra-Compact Multi-channel FORJ (ZJn series)
                                             Big performance in a small package. The most compact three channel
                                             fiber rotary joint. Unlike MJ2 model, ZJn is capable of handling SM, MM,
                                             and mixed fibers. The ZJn promises all standard performance figures of
                                             its sister models.

                                             Multi-channel Fiber Optic Rotary Joint (MXn series)
                                             A very compact package accommodates 2-3 channels and 4-7 channels
                                             (SM or MM fibers). It's mounting scheme is similar to RJ2 series FORJs
                                             making it simple to upgrade from MM RJ2 to SM MX2. MXn series
                                             FORJs feature "blind-spot free" passage and low crosstalk. Patented.


http://www.princetel.com/product_forj.asp
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                                               Multi-channel Fiber Optic Rotary Joint (JXn series)
                                               Evolved from the successful MJn model, JXn series FORJs has become
                                               the most popular multi-channel FORJs. Maximum channel count is 19
                                               (2-7, 8-12, or 13-19). Like all Princetel's FORJs, they are "blind-spot free"
                                               and are designed for harsh environments. Patented.

                                               Multi-channel Fiber Optic Rotary Joint (MRn series)
                                               Up to 50 fiber channels of singlemode, multimode, or both are designed
                                               in a rugged package. It still maintains the same 67 mm body diameter
                                               (JXn and MJn). Like all Princetel's FORJ products, RJn series FORJs
                                               feature "blind-spot free" passage, high return loss, and low crosstalk.
                                               Patented.
                                             Specialty Fibers and Custom Applications/Accessories

                                               Single-channel with High-pressure Rating (RPC series)
                                               Model RPC single-channel FORJs are designed for deep-water
                                               applications. They are rated for 10,000 psi and can operate under
                                               temperature extremes. Similar to model RPT, they offer superb optical
                                               performances: low insertion loss (low wow) and high return loss.

                                               Single-channel Fiber Rotary Joint (MJP series)
                                               This single-channel fiber optic rotary joint is suitable for standard and
                                               specialty fibers. It is free of index matching fluid and therefore can spin at
                                               much higher rate. Model MJP offers extremely high return loss
                                               performance (>55 or 60 dB) and is ideal for OCT applications.

                                               Multi-channel Fiber Optic Rotary Joint (MJn series)
                                               Multiple (2-7, 8-12, or 13-19) independent channels (SM, MM, or both)
                                               are designed in this package. MJn series FORJs feature "blind-spot free"
                                               passage, very high return loss, and extremely low crosstalk. Pressure
                                               compensation is available for this model. Patented

                                               Accessories: FORJ Drive Pins
                                               Stainless drive pins are standard components from stock. Five different
                                               sizes are available to cover all Princetel's FORJ models. The drive pins,
                                               significantly longer than standard screws, provide designers with ample
                                               flexibility.

                                               Accessories: Fiber Cable Reels
                                               A multi-purpose fiber cable reel is ideal for a variety of applications such
                                               as robotics, broadcasting, and entertainment. Standard provision for
                                               Princetel's popular R series FORJs (RST, RFC, and RPT). Optional for
                                               other Princetel's FORJs.

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